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                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA
____________________________________

LAURETTA R. KING,                   :
                                    :
                  Plaintiff,        :
                                    :
            v.                      :                 No. 5:17-cv-5026
                                    :
WAL-MART.COM USA, LLC,              :
                                    :
                  Defendant.         :
____________________________________

                                           ORDER

       AND NOW, this 13th day of August, 2018, upon consideration of Plaintiff’s Motion for
Leave to File a Sur-Reply in Opposition to Defendant’s Motion for Summary Judgment, ECF
No. 50, IT IS ORDERED THAT:

   1. Plaintiff’s Motion is GRANTED in part.

   2. Plaintiff shall file any sur-reply within seven days of the date of this Order.

                                                     BY THE COURT:



                                                     /s/ Joseph F. Leeson, Jr._________
                                                     JOSEPH F. LEESON, JR.
                                                     United States District Court




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